              Case 3:23-cv-00636
9/26/24, 4:01 PM                             Document 134-6       Filed
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                                                                                            v. Racer, 1  of 5 PageID #: 2172
                                                                                                      et al.



                                                                                                Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Kerry Nessel <nessel@comcast.net>                                                       Fri, Sep 13, 2024 at 4:09 PM
  To: "Stebbins, James C." <jstebbins@flahertylegal.com>
  Cc: "Wendy E. Greve" <wgreve@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>, tyler@haslamlawfirm.com, "Burdette,
  Danica N." <dburdette@flahertylegal.com>

     Thanks for detailed response. I’ll contemplate your points over the weekend, discuss with our team and get back at you
     Monday.

     Have a nice weekend as well.

     Sent from my iPhone


             On Sep 13, 2024, at 4:01 PM, Stebbins, James C. <jstebbins@flahertylegal.com> wrote:




             Kerry:


             I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a second
             time. He is not trying to be difficult but we think that the request is not fair or reasonable for
             many reasons.


             First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at 9:00 in the
             morning and when Plaintiff decided to terminate his deposition at 2:15 p.m., that was not
             because of any request by Mr. Racer or his counsel to stop and we would have made him
             available for the remainder of the afternoon if necessary. We had no discussion at that time
             that there was any reason to leave the deposition open.


             Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another deposition so
             that you can ask him questions about the KCSD investigation report. You have known about
             the existence of that report since it was first disclosed by the County Defendants in this case in
             their initial disclosures on July 2. 2024. The disclosures by the County Defendants indicated
             that the report would be made available to the other parties upon entry of a Protective Order
             and I do not believe that Plaintiff ever submitted any proposed Protective Order to obtain those
             documents prior to deciding to take Mr. Racer’s deposition.


             I would also note that Mr. Haslam already asked Mr. Racer’s questions about that investigation
             during his deposition.


             I am also aware of case law holding that if a party chooses to prematurely take a deposition
             before document discovery is complete, that is not an excuse for subjecting a witness to a
             second deposition.


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                                                                                            v. Racer, 2  of 5 PageID #: 2173
                                                                                                      et al.
             Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by the
             parties.


             Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police Academy
             where he hopes to graduate on December 13, 2024. I understand that this training is taxing
             both mentally and physically and I do not think that it is fair to ask him to prepare for and
             undergo a deposition (especially a second deposition) while he is in the middle of that training.


             Based upon all of the above, I must respectfully decline your request. If you would like to
             discuss this further, please give me a call.


             Have a nice weekend everyone.


             Best,


             Jamie



             James C. Stebbins
             Member




             Flaherty
             FLAHERTY SENSABAUGH BONASSO PLLC

             P.O. BOX 3843

             CHARLESTON, WV 25338

             OVERNIGHT:


             200 CAPITOL STREET

             CHARLESTON, WV 25301

             PHONE: 304.205.6388

             FAX: 304.345.0260




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             From: Kerry Nessel <nessel@comcast.net>
             Sent: Thursday, September 12, 2024 12:41 PM
             To: Stebbins, James C. <jstebbins@flahertylegal.com>
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                                                       Haslam Law Firm LLC09/26/24
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                                                                                                      et al.
             Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
             tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
             Subject: Re: Hudson v. Racer, et al.




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             Thanks for thorough response.



             Sent from my iPhone




                     On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com> wrote:



                     Hi Kerry:


                     I need to look at some things regarding this request and am under a deadline in
                     another matter today and I also want to try to reach out to my client about it. I will
                     give you a full response tomorrow even if I am unable to reach him. I did not want
                     you to think I was ignoring this request since you asked for an answer ASAP.


                     Best,


                     Jamie



                     James C. Stebbins
                     Member




                     Flaherty
                     FLAHERTY SENSABAUGH BONASSO PLLC

                     P.O. BOX 3843

                     CHARLESTON, WV 25338

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                     From: KERRY NESSEL <nessel@comcast.net>
                     Sent: Wednesday, September 11, 2024 2:17 PM
                     To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
                     <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
                     Cc: tyler@haslamlawfirm.com
                     Subject: Hudson v. Racer, et al.




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                     Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                     Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 +
                     page internal affairs investigation, specifically Lt. Pile's interview with Racer and her
                     conclusions.

                     As the Court entered and order yesterday extending the deposition deadline to Sept 27 and
                     the recent disclosure, we believe our request is reasonable.

                     Please let me know ASAP.

                     Additionally, considering Racer had been brutally battered by no less than 5 men at a bar and
                     suffered significant physical injuries, including a brain bleed and broken orbital bone on his left
                     side, we request his medical records concerning the same.

                     Further, we are willing to travel to the WVSP academy to conduct this deposition.

                     Finally, please provide us dates for your availability to depose Lt. Pile. I assume this will have
                     to take place in Chas.

                     Thanks.

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                                                                                            v. Racer, 5  of 5 PageID #: 2176
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